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12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
15   IN RE META PIXEL TAX FILING CASES            Master File No. 3:22-cv-07557- PCP

16       This document relates to:                STIPULATION AND [PROPOSED] ORDER
                                                  RE BRIEFING SCHEDULE FOR
17       Justin Hunt v. Meta Platforms, et al.,   RESPONSIVE MOTIONS
18       Case No. 3:23-cv-04953-PCP
                                                  Courtroom: 8, 4th Floor
19                                                Judge: Hon. P. Casey Pitts
20
                                                  Complaint Filed:      9/27/2023
21                                                FAC Filed:            10/5/2023
                                                  SAC Filed:            12/6/2023
22                                                Trial Date:           Not Set
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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
                                   MOTIONS
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 1                                             STIPULATION
 2           Pursuant to Civil Local Rule 6-1(a), Defendants HRB Digital LLC, HRB Tax Group, Inc.
 3   (“HRB Parties”), and Google LLC (“Google”) (collectively, “Defendants”), and Plaintiff Justin
 4
     Hunt (“Plaintiff”) (collectively, “the Parties”)1 hereby stipulate to the following:
 5
             1. Plaintiff filed his Seconded Amended Complaint on December 6, 2024 (ECF #36);
 6
             2. The HRB Parties filed a Motion to Bifurcate Responsive Pleadings on December 7,
 7
                  2023, with a reserved hearing date of February 1, 2024 (ECF #41);
 8
             3. Google filed a statement of non-opposition in support of HRB Parties’ Motion to
 9
                  Bifurcate Responsive Pleadings on December 20, 2023 (ECF #52);
10
             4. Given the above, in order to streamline the case and promote efficiency for the Parties
11
12                and the Court, the Parties have agreed to extend Defendants’ deadline to respond to the

13                Second Amended Complaint until thirty (30) days after the Court rules on the HRB

14                Parties’ Motion to Bifurcate Responsive Pleadings;2
15           5. This stipulation will not alter any deadline already fixed by Court order.
16           IT IS SO STIPULATED.
17
18
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20   1
       Defendant Meta Platforms, Inc. (“Meta”) is not a party to this stipulation. Meta intends to bring a
21   motion to sever Plaintiff’s claims against it, in which it will request consolidation with the other
     Meta action pending before the Court. Plaintiff and Meta filed a Joint Stipulation to Extend Meta’s
22   Deadline to Respond to the Second Amended Complaint on December 15, 2023 (ECF #51), in which
23   they agreed to extend Meta’s deadline to respond to the Second Amended Complaint until thirty
     (30) days after the Court rules on Meta’s anticipated motion to sever and consolidate.
24   2
       The HRB Parties, in their Motion to Bifurcate Responsive Pleadings, seek to implement a schedule
     which would see a motion to compel arbitration teed up before the Court evaluates a Rule 12
25
     challenge from the HRB Parties. Google also intends to move to compel arbitration and will request
26   the same bifurcated schedule as the HRB Parties. Plaintiff will oppose these motions to bifurcate.
     If the Court favors bifurcation, however, then the deadline described in Paragraph 3 would only
27   apply to the HRB Parties’ and Google’s motions to compel arbitration. The Parties would then work
28   out an appropriate schedule for Rule 12 briefing.

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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
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 1
     Dated: December 28, 2023              WISNER BAUM, LLP
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 3                                              Harrison E. James
 4                                              R. Brent Wisner

 5                                         COFFIN LAW, LLC
 6                                             Christopher L. Coffin
 7
                                           PENDLEY, BAUDIN & COFFIN,LLC
 8
                                               Jessica A. Reynolds
 9
10                                             Attorneys for Plaintiff
                                               JUSTIN HUNT
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12   Dated: December 28, 2023              BERKOWITZ OLIVER LLP

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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
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                Case 5:23-cv-04953-PCP Document 64 Filed 12/28/23 Page 4 of 7




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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
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                                    CIVIL L.R. 5-1(h)(3) ATTESTATION
 1
             Pursuant to Civil Local Rule 5-1(h)(3), I attest that all other signatories listed, and on
 2
 3   whose behalf this filing is submitted, concur in the filing’s content and have authorized the filing.

 4   Dated: December 28, 2023                       WISNER BAUM, LLP
 5
                                                    By: /s/ Harrison E. James
 6                                                       Harrison E. James
                                                         R. Brent Wisner
 7
 8                                                       Attorneys for Plaintiff
                                                         JUSTIN HUNT
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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
                                   MOTIONS
                Case 5:23-cv-04953-PCP Document 64 Filed 12/28/23 Page 6 of 7




                                           PROPOSED ORDER
 1
             Pursuant to stipulation, and for good cause shown, the Court hereby ORDERS:
 2
 3           The deadline for Defendants HRB Parties and Google to respond to Plaintiff’s Second

 4   Amended Complaint will be 30 days after the Court issues a ruling on HRB Parties’ pending

 5   Motion to Bifurcate Responsive Pleadings (ECF #36). If the Court grants HRB Parties’ Motion to

 6   Bifurcate, then this deadline would only apply to the HRB Parties’ and Google’s motions to
 7   compel arbitration.
 8
             IT IS SO ORDERED
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10   Dated: _________________
11                                                   HON. P. CASEY PITTS
                                                     United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
                                   MOTIONS
                Case 5:23-cv-04953-PCP Document 64 Filed 12/28/23 Page 7 of 7




                                        CERTIFICATE OF SERVICE
 1
             I HEREBY CERTIFY that on this 28th day of December, 2023, I electronically filed the
 2
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to all counsel of record.

 5                                                      /s/ Harrison E. James
 6                                                      Harrison E. James

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     STIPULATION AND [PROPOSED] ORDER RE BRIEFING SCHEDULE FOR RESPONSIVE
                                   MOTIONS
